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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )
                                              )
NGHIA NGUYEN                                  ) Docket no. 04-cr-136-P-S
                                              )
                                              )
                      Defendant.              )
                                              )

             ORDER DENYING REQUEST FOR SENTENCE REDUCTION

       Before the Court is a letter from the Defendant, dated January 28, 2008 (Docket # 487),

which this Court has docketed and treated as a motion to appoint counsel and a motion to reduce

sentence. Via this submission, Defendant seeks a sentence reduction pursuant to 18 U.S.C. §

3582(c)(2) and the recent amendments to the Sentencing Guidelines related to crack cocaine.

The Government has filed its objection (Docket # 490). After reviewing the file, the Court has

determined that this Defendant was sentenced to 188 months based, in part, on a finding that he

was a Career Offender under USSG § 4B1.1. Because this career offender finding determined

his offense level under the Guidelines, Defendant’s sentence was not derived from or affected by

a calculation of crack cocaine quantity and USSG § 2D1.1. Thus, the recent revisions pertaining

to crack cocaine quantity do nothing to change the Defendant’s Guideline range and do not

provide a basis for the Court to reduce his sentence in accordance with 18 U.S.C. § 3582(c).

       For this reason, the Court hereby DENIES Defendant’s Motion.

       SO ORDERED.

                                                    /s/ George Z. Singal
                                                    Chief U.S. District Judge

Dated this 19th day of February, 2008.
